           Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 1 of 21




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                                     Criminal No. 23-cr-454 (JEB)
               v.                            :
                                                     The Honorable James E. Boasberg
DONALD PEARSTON                              :
                                                     Sentencing: April 25, 2024
               Defendant.                    :

                      DEFENDANT’S POSITION ON SENTENCING

       COMES NOW Donald Pearston, by counsel, and respectfully submits this memorandum

on Defendant’s Position on Sentencing in this matter. Mr. Pearston quickly accepted full

responsibility for his actions. He makes no excuses and is deeply remorseful for his conduct and

for the irreparable harm it has caused. He is committed to redeeming himself in the eyes of his

family, this Court and the community at large and avoiding all criminal conduct in the future.

Defendant prays this Honorable Court consider Defendant’s age, health and lack of any prior

criminal history and consider a non-custodial sentence. In support thereof, Defendant states as

follows:

       Donald Pearston was arrested on September 20, 2023 for his involvement in the Capitol

insurrection on January 6, 2021. Specifically, Mr. Pearston was charged with four

misdemeanors:

       (1) 18 U.S.C. § 1752(a)(1) (entering and remaining in a restricted building or grounds);
       (2) 18 U.S.C. §1752(1)(2) (disorderly and disruptive conduct in a restricted building or
           grounds);
       (3) 40 U.S.C. §5104(e)(2)(D) (disorderly conduct in a capitol building); &
       (4) 40 U.S.C. §5104(e)(2)(G) (parading, demonstrating or picketing in a capitol
           building).

       Mr. Pearston was subsequently released pursuant to pre-trial supervision and has been

                                                 1
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 2 of 21




compliant with this supervision throughout the pendency of this matter. On January 11, 2024

Mr. Pearson plead guilty to Counts 3 and 4 pursuant to an agreement with the United States, both

Class B misdemeanors punishable by up to six (6) months imprisonment and/or a fine of not

more than $5,000. Pursuant to an agreement with the government, upon sentencing the

government shall dismiss Counts 1 and 2. There is no agreement as to sentencing other than that

Defendant agrees to pay restitution in the amount of $500 to the Architects of the Capitol.

       Mr. Pearston’s incursion into the U.S. Capitol on January 6th was a product of significant

and serious misjudgment and Mr. Pearston has regretted this decision ever since. Letter of

Donald Pearston, provided as Exhibit 1. Mr. Pearston traveled to D.C. alone to attend then-

President Trump’s “Stop the Steal Rally” as did thousands of supporters of the former President.

Although he had no prior intention to do so, Mr. Pearston ultimately ventured to the U.S. Capitol

as part of the crowd on a whim and without any planning or coordination beforehand. He has no

association to any militia or right-wing militant groups and had no violent intent upon entering

the Capitol.

       Mr. Pearston walked past opened barricades and found himself amongst a large group on

the outside of the West side of the Capitol building. A line of D.C. Metropolitan Police Officers

began a concerted effort to clear that area using batons and riot shields. As agreed upon in the

statement of facts which form the basis for Mr. Pearston’s plea of guilt, Mr. Pearston did not

immediately exit the area but instead faced the officers until they physically engaged with others

nearby and Mr. Pearston was knocked to the ground and later exited the area. This forms the

basis for Mr. Pearston’s plea of guilt to ‘disorderly conduct’ and he takes full responsibility for

his actions in failing to clear from the area prior to being forcibly removed.

       At approximately 3:06pm Mr. Pearston subsequently followed a group of others through

                                                  2
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 3 of 21




an open door on the West side of the building. Mr. Pearston is not familiar with the Capitol and

wandered around aimlessly for a few minutes (approximately 6 minutes according to the

government’s sentencing memorandum). Images from surveillance within the building show

Mr. Pearston walking through various rooms unaccompanied. At approximately 3:12pm law

enforcement deployed pepper spray in a large room which accumulated above and wafted

through the crowd. Mr. Pearston, already in poor health and wearing a surgical mask, exited on

his own volition at 3:12pm.

       Mr. Pearston remained outside the Capitol building for about 10 minutes during which

time he began searching for a public restroom. Having not found one, he re-entered the Capitol

at about 3:21pm through an open door into a crowded service area in search of a bathroom.

While in that service area, law enforcement told everyone to exit at which point Mr. Pearston

again exited the Capitol building at approximately 3:30pm. He did not return.

       Mr. Pearston never engaged in any assaultive or destructive behavior nor did he

encourage others to engage in any such behavior. Since that day he has never bragged or taken

pride in his role in this tragic event and has never posted any such comments to any social media.

He is a 59-year old retired teacher and self-employed landlord, a husband and a father of two.

Mr. Pearston has no prior criminal convictions and is a decorated veteran of the United States

Marine Corps. Sadly (and likely as a result of his service and stay at Camp Lejeune), Mr.

Pearston suffers from Addison’s disease and Hashimoto’s disease, as well as diabetes, psoriasis

and hearing loss. He does not smoke nor does he drink alcohol. Mr. Pearston considers his

actions on January 6th as a black stain on his reputation and character.

       Mr. Pearston has been forthright with U.S. probation and agrees with the pre-sentence

investigation report. Because Mr. Pearston has plead guilty to Class B misdemeanors, the U.S.

                                                 3
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 4 of 21




Sentencing Guidelines do not apply.

Section 3553(a) Factors

       The factors for the district court to consider include: (1) the nature and circumstances of

the offense and the history and characteristics of the defendant, (2) the kinds of sentences

available, (3) the Guidelines range, (4) the need to avoid unwarranted sentencing disparities, (5)

the need for restitution, and (6) the need for the sentence to reflect: the seriousness of the

offense, to promote respect for the law, to provide just punishment for the offense, to afford

adequate deterrence to the defendant and others, to protect the public from further crimes of the

defendant, and to provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment. See 18 U.S.C. § 3553(a). The Court must weigh

each of these factors when determining the appropriate sentence. Id.

       Taking all these factors into account, it is respectfully suggested that a non-custodial

sentence is appropriate in this case.

           a. Nature and Characteristics of the Offense and Characteristics of the
              Defendant – 18 U.S.C. §3553(a)(1)

               i. Mr. Pearston’s Involvement in the Offense Conduct

       The details of Mr. Pearston’s offense conduct is significantly discussed in the PSR and

not fully recounted here. Mr. Pearston had no intention of storming the U.S. Capitol when he

traveled to the Donald Trump rally on January 6th, 2021. However, he does not dispute in the

slightest that he unlawfully entered the Capitol and does not diminish the damage done that day,

not only to property but to every life affected as a result directly and indirectly. Undersigned

counsel has reviewed numerous sentencing memoranda filed by the government in these cases

and both counsel and Mr. Pearston agree that “there were no tourists” inside the Capitol on that


                                                  4
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 5 of 21




day. Mr. Pearston has never diminished the enormity of the January 6th riots nor his

participation. He simply wishes to take responsibility for his actions and move forward with his

life.

        Mr. Pearston entered the U.S. Capitol along with a large crowd through an open door. He

did not break any windows or doors upon entry to the Capitol. Once inside the Capitol, Mr.

Pearston is unsure of exactly where he went but exited minutes later. He only re-entered later in

the hopes of finding a restroom and again promptly exited. He never posted anything to social

media relating to his actions that day nor does he associate with any extremist or militant groups.

Special Agents Sellers and Martin interviewed Mr. Pearston in Eagle, Nebraska on December 14,

2021. See Interview Summary of FBI Special Agents Sellers and Martin, provided as Exhibit 2.

Mr. Pearston was compliant and forthright in his interview, providing a detailed description of

his actions and those of others he observed that day. Id. He provided FBI agents with his cell

phone and social media accounts and gave them permission to search for evidence. Id. He was

then shown screenshots from surveillance footage and positively identified himself. Id.

        Mr. Pearston was ultimately arrested and charged almost two years later, on September

20, 2023. He has been fully compliant with pre-trial supervision since that time.




                                                 5
          Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 6 of 21




               ii. Characteristics of Defendant – Donald Pearston




Donald with his ‘best friend,’ Skip. 1

       Donald Pearston was born April 21, 1965 in San Diego, California. Although his parents

separated when Donald was approximately 7 years old, he would describe his upbringing as

happy. Following the divorce, Donald’s father had primary custody of him and subsequently

moved to Weatherford, Texas where he served as a career police officer. Following the divorce,

Donald did not see his mother regularly although he would describe their relationship as ‘good.’

Donald graduated from high school and enlisted in the United States Marine Corps. During his

active service, Mr. Pearston was stationed at Camp Lejeune, North Carolina, Japan, the

Philippines and Korea. He was honorably discharged in 1987 with decorations for overseas

deployment and good conduct.


1
 At the request of Mr. Pearston, identifying information and photographs of family members (other than
Skip) have been omitted from this filing out of respect for their privacy.
                                                   6
          Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 7 of 21




         Following his service in the Marine Corps, Donald resumed his education and attended

Point Loma Nazarene College where he obtained a bachelor’s degree in business administration.

He went on to obtain a master’s degree from California State University in Teaching English to

Speakers of Other Languages. Donald then spent some time teaching English abroad including

in the Czech Republic, South Korea and Dubai.

         Donald ultimately moved back to the United States where he invested in residential

property in and around Lincoln, Nebraska and continued to teach at the University of Nebraska

at Lincoln and Southeast Community College (also in Lincoln). Donald retired from his

teaching positions in 2016 to focus on managing his residential properties.

         Donald has been married twice. He married his first wife in in 1997 in California. They

were married for 16 years and have one adult son who resides in Lincoln, NE. Donald maintains

almost daily contact with his son. He married his current wife in 2016 and the two reside

together in Eagle, Nebraska. Donald also has a 30-year-old daughter in Prague from a

relationship he had while teaching English in the Czech Republic. Donald’s relationship with his

daughter is good and he maintains weekly contact with her.

         Donald has no prior criminal convictions and no connections to any far-right groups,

activists or militias. In late December, Donald learned of the planned rally by then-president

Donald Trump on January 6th. To show his support, Donald decided to attempt to attend.

         Without restating the facts surrounding the offense, Donald traveled to Washington, D.C.

with no intention of visiting, let alone invading, the U.S. Capitol or in any way impeding the

work of Congress in certifying the election, other than to show his support for then-president

Trump.

         b.     18 U.S.C. §3553(a)(2)(A) - The Need for the Sentence Imposed:

                                                 7
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 8 of 21




               (A)to reflect the seriousness of the offense, to promote respect for the law, and to
               provide just punishment for the offense;

               (B)to afford adequate deterrence to criminal conduct;

               (C)to protect the public from further crimes of the defendant; and

               (D)to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective manner

       Donald has no prior record of criminal convictions. He is a 59-year old retired teacher

who manages residential properties in and around Lincoln, NE. He does not associate with any

extremist or militant groups and he does not drink alcohol. Donald has fully accepted

responsibility for his actions and never attempted to minimize his involvement or his actions on

January 6th. Beginning as early as December 2021 Donald has been fully compliant and

cooperative with authorities, offering his cell phone for inspection and providing his social media

account information to federal law enforcement.

       Donald has also been compliant with pre-trial supervision since the day of his arrest in

September 2023. He travels to the Bahamas frequently to utilize his boat which is docked at

Marsh Harbour. In order to do so, Donald has requested and received permission of the Court

and has abided by all terms and conditions of pre-trial.

       Additionally, since approximately fall 2021, Donald has been subjected to secondary

screening for every flight, both domestic and international. Donald attributes this heightened

scrutiny to his involvement on January 6th and has been fully compliant with authorities despite

any embarrassment and/or inconvenience. 2

       Considering his acceptance of responsibility, remorse, and pre-trial release compliance, it



2
 For instance, Donald was detained during his trip to the Bahamas in December 2023 (authorized by
order of this Court) in Miami for approximately 6 hours.
                                                  8
            Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 9 of 21




is clear that Donald presents no risk of recidivism.

       c.       18 U.S.C. §3553(a)(3) The Kinds of Sentences Available

       Violations of 40 U.S.C. § 5104(e)(2)(D) and 5104(e)(2)(G) are Class B misdemeanors,

punishable by up to 6 months of incarceration and/or a fine of not more than $5,000. As a

federal criminal misdemeanor, a suspended sentence conditioned on probation is available.

There are no sentencing guidelines for Class B misdemeanors, the statutory sentence range

equivalent to the lowest sentencing range available within the guidelines.

       This Court may exercise its discretion in sentencing Mr. Pearston, after consideration of

all of the other statutory considerations outlined in 18 U.S.C. §3553(a), and sentence Mr.

Pearston to a term of incarceration entirely suspended contingent on his successful completion of

a term of probation. It should be noted that Mr. Pearston has agreed to pay restitution in the

amount of $500 at the request of the U.S. government.

       d.       18 U.S.C. §3553(a)(4) & (5)

       Defendant submits that these subsections are not applicable to the instant charge as there

are no federal sentencing guidelines for a Class B misdemeanor (§3553(a)(4)) and there has been

no pertinent policy statement with regard to the sentencing of this offense (§3553(a)(5)).

       e.       18 U.S.C. §3553(a)(6) The Need to Avoid Unwarranted Sentence Disparities
                Among Defendants with Similar Records who Have Been Found Guilty of
                Similar Conduct

       Defendant Mr. Pearston is charged and has pleaded guilty to two counts of Class B

misdemeanors related to his trespass in a federal building and disorderly conduct on Capitol

grounds. Standing alone and given his age and lack of any criminal convictions, such

convictions would usually result in a sentence not involving active incarceration.

       However, Defendant agrees and submits that the events on January 6th are of a different

                                                 9
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 10 of 21




nature than an ordinary trespass to federal property. Hundreds of individuals, if not more,

trespassed on Capitol grounds, generally in support of an attempt to protest and potentially

prevent Congress from certifying the election results of the 2020 presidential election. Many

engaged in violent conduct; others did not. Some entered the Capitol building itself; others did

not. Some violated the Senate floor, the House floor and/or offices of lawmakers; others did not.

Some encouraged others and bragged on social media; others did not. The actions of the whole

are to be condemned in the strongest terms. However, the repercussions for individual

defendants should reflect their particular participation, their individual backgrounds including

criminal history, their intent at the time of the offense and their actions following the offense

(i.e., acceptance of responsibility or braggadocio).

       To his credit, Donald Pearston timely agreed to plead guilty following negotiations with

the government.

       As the government points out in their sentencing memorandum, hundreds of others

involved in the January 6th offense have been sentenced. For purposes of brevity and relevance,

Defendant will focus only on those who have been found guilty of a misdemeanor within the

Capitol (others have been found guilty of felony conduct and/or misdemeanor conduct outside of

the Capitol).

       On June 23rd, 2021 this Court sentenced Anna Morgan-Lloyd, 49, to three years of

probation at the recommendation of both the defendant and U.S. Attorney’s Office. (See U.S.

Attorney’s Office Memorandum in Aid of Sentencing, provided). Supporting their

recommendation for a non-jail sentence, the U.S. Attorney’s Office focused on Morgan-Lloyd’s

lack of pre-planning or coordination in entering the Capitol, the lack of evidence that she incited

others to commit acts of violence or committed acts of violence against law enforcement herself,

                                                 10
        Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 11 of 21




the lack of evidence that she destroyed or stole property from the Capitol and the fact that she

remained in a limited part of the building for a limited period of time. The government also

focused on her expressions of remorse in her actions during the pendency of her criminal

prosecution. The Court sentenced Morgan-Lloyd to three years of probation, 120 hours of

community service and restitution in the amount of $500. The government did note, however,

that Morgan-Lloyd initially bragged of her participation in the January 6th event on social media:

       While inside the Capitol building, the Defendant was photographed with Bissey
       and two other individuals, one of whom is holding a Trump campaign flag. Bissey
       later posted the photo on Facebook with the caption, “Inside the Capitol
       Building.”

       On January 6, 2021, in response to a post by another rioter, the Defendant wrote,
       “I’m here. Best day ever. We stormed the capital building me and Dona Bissey
       were in the first 50 people in.”

       On January 7, 2021, Bissey posted a photo on Facebook, tagging the Defendant
       and another individual, and wrote, “We are home. Thank You to ALL that
       messaged checking in and concerned. It was a day I’ll remember forever. I’m
       proud that I was a part of it! No Shame. BTW turn off the #FakeNews.” In a
       comment to this post, the Defendant wrote, “That was the most exciting day of my
       life.” The Defendant further commented, “Dona Bissey I’m so glad we were there.
       For the experience and memory but most of all we can spread the truth about
       what happened and open the eyes of some of our friends.”

       On January 8, 2021, Bissey posted two photos from the western front of the
       Capitol building. The photo included images of members of the mob climbing the
       scaffolding and another of a rioter holding a stolen and broken sign that read,
       “Speaker of the House.” Bissey wrote on the post, “This really happened! Anna
       Morgan-Lloyd took the photo.”

       On January 11, 2021, Bissey posted a photo on Facebook which showed
       individuals walking down the steps of the Capitol building. Bissey wrote, “On our
       way down” and tagged the Defendant.

(emphasis added).

       Defendant’s case is distinguishable from that of Anna Morgan-Lloyd. Like Morgan-

Lloyd, Defendant has taken responsibility and expressed remorse for his actions. Unlike


                                                11
        Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 12 of 21




Morgan-Lloyd, however, Defendant never bragged or posted statements or images to social

media depicting his involvement in the events of January 6th.


       Likewise, Valerie Elaine Ehrke was sentenced on September 17th, 2021 after having

plead guilty to parading, picketing or demonstrating within the Capitol (the same charge as

Defendant). In that case, again the U.S. Attorney’s Office recommended a non-jail sentence of

probation and 40 hours of community service. In so arguing, the U.S. Attorney’s Office cited

Ehrke’s limited time within the building (approximately 1 minute), lack of destruction of

property and limited social media activity following the offense. However, in their

memorandum in aid of sentencing, the government noted that Ehrke, after attending the Trump

rally and returning to her hotel room, chose to go back out to the U.S. Capitol after watching on

television that the crowd was surrounding the building. She then traveled back to the national

mall and to the U.S. Capitol, filming and uploading video to Facebook including the caption “on

the way to the breached capitol building [sic].” She films herself entering the U.S. Capitol

through the North entrance. Once inside, Ehrke finds herself at the back of a large crowd as a

high-pitched alarm sounds within the building. Police in front of the crowd begin forcing the

crowd back outside. As part of the crowd, Ehrke is forcibly pushed back out of the building.

She is only in the building for about one minute. The government’s memorandum follows:


       When she posted the above-referenced video that she took of her and others in the
       hallway, she added this caption: “We made it inside, right before they shoved us
       all out. I took off when I felt pepper spray in my throat! Lol.” A screenshot of that
       post is reproduced below. The government would note that the defendant’s
       Facebook profile picture in the screenshot below is a flaming “Q,” which is
       commonly associated with Q-Anon, a far-right conspiracy group.

(emphasis added).

       The government also highlights that Ehrke was amongst the first in her defendant group
                                                12
          Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 13 of 21




to plead guilty (on June 30th, 2021). Additionally, Ehrke is noted to have at least one criminal

conviction, for distribution of marijuana.


         Again, Defendant Mr. Pearston is in ways similarly situated to Ms. Ehrke, and in ways

dissimilar. Like Ehrke, Mr. Pearston was only in the Capitol for a brief period of time. Like

Ehrke, Mr. Pearston’s presence in the Capitol was cut short by police intervention. Like Ehrke,

Mr. Pearston agreed to timely plead guilty. Unlike Ehrke, Mr. Pearston never posted images or

videos to social media. Unlike Ehrke, Mr. Pearston has no criminal convictions. Unlike Ehrke,

Mr. Pearston is not associated with any conspiracist groups such as Q-Anon.


         Others sentenced include Andrew Ryan Bennett, 3 Danielle Doyle, 4 Jessica and Joshua

Bustle, 5 Derek Jancart and Erik Rau 6. It should be noted in the cases of Derek Jancart and Erik

Rau that there were significant aggravating factors. 7


         The case of Danielle Doyle is interesting because it is alleged that Doyle entered the

Capitol through a broken window (confirmed with video evidence), participated in a

confrontation with Capitol police within the Capitol (yelling at them from within the crowd),



3
  Sentenced on 10/1/21 to a term of 24 months of probation including three months home confinement.
4
  Sentenced on 10/1/21 to a term of 2 months of probation.
5
  Sentenced on 8/30/21 to a term of 24 months of probation including 60 days of home confinement (Jessica);
sentenced on 8/30/21 to a term of 24 months of probation including 30 days of home confinement (Joshua).
6
  Sentenced on 9/29/21 to a term of 45 days of active incarceration (Jancart); sentenced on 9/29/21 to a term of 45
days of active incarceration (Rau).
7
  “. . . (1) the defendant prepared for violence by bringing a gas mask and two-way radios to Washington, D.C.; (2)
he was aware of the potential for violence because he responded to the Capitol only after hearing it had been
“breached”; (3) he laughed and cheered while the forward line of the rioters broke through the police line and posted
a video to Facebook of Rau screaming “we have you surrounded” at the police officers attempting to hold the line
around the Capitol; (4) he penetrated the U.S. Capitol all the way to the Speaker’s conference room; (5) his
statements on Facebook after January 6 reveal a total lack of remorse; (6) he actively spread propaganda on social
media by falsely downplaying the violence on January 6; (7) he likely destroyed evidence by deleting videos and
message threads from his phone; and (8) his social media statements reveal he believes a revolution is coming and
suggest the possibility of future violence by this defendant.” Sentencing Memorandum filed by the U.S. Attorney’s
Office on 9/24/21.
                                                         13
        Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 14 of 21




remained in the Capitol for approximately 24 minutes and posted images and messages on social

media relating to her incursion. As the government states in their sentencing memorandum,

“Ultimately, Doyle walked through three levels of the U.S. Capitol building.” In the days after

the riot, Doyle texted another person “I literally can’t do anymore Q shit. Brandon Stracka was

arrested today. He didn’t even go in the capitol. This is fucking insane,” referencing her

participation in the Q-Anon conspiracy movement. Additionally, the government expressed

some skepticism of Doyle’s subsequent remorse based on previous representations made to FBI

and other law enforcement agents:


       While the government wants to credit the defendant’s remorse in her allocution
       statement, we also recognize that Doyle has not been fully transparent with law
       enforcement and that we have no support for Doyle’s remorse, other than her
       representations in her allocution statement.

       The government requested a period of home confinement for two months, probation for

two years and the completion of 60 hours of community service. Doyle was sentenced by this

Court on October 1st, 2021 to two months of probation, a fine of $3,000 and restitution in the

amount of $500. While Defendant Mr. Pearston also entered the Capitol, he did not travel as

extensively throughout the building as Doyle, never yelled at law enforcement or encouraged

others to confront law enforcement, never posted images or comments regarding the riot or his

participation to social media and has no connection to Q-Anon or any other conspiracist groups.


       Judges in this district have imposed sentences of probation for violations of 40

U.S.C. § 5104(e)(2)(G) and §5104(e)(2)(D) on more egregious facts than those here. A non-

exhaustive list of such defendants includes:




                                                14
            Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 15 of 21




•       In United States v. Bennett, 1:21-cr-227 (JEB), the defendant was present when rioters tried
        to breach doors near the Speaker’s Lobby and was close enough to hear the gunshot that
        fatally wounded another rioter; was an apparent admirer of the Proud Boys; posted a
        boastful message on social media regarding his unlawful entry into the Capitol; and had
        five prior convictions for property and drug-possession crimes. See United States’ Sent.
        Memo, ECF No. 24 at 2, 5 & 9. The Court imposed a sentence of 24 months of probation.
        See Judgment as to Andrew Bennett, ECF No. 29.

•       In United States v. Gallagher, 6:21-cr-41 (CJN), the defendant followed police officers
        down the stairs to the Capitol Visitor Center seconds after the officers were forced to retreat
        due to rioters pelting them with chairs and unknown liquids. See United States’ Sent.
        Memo, ECF No. 98 at 2-3. The Court imposed a sentence of two years of supervised
        probation. See Judgment as to Thomas Gallagher, ECF No. 123.

•       In United States v. Edwards, 1:21-cr-366 (JEB), the defendant entered the Capitol and went
        as far as breaching the office of Senator Jeff Merkley, which was later discovered
        ransacked. Additionally, although the defendant did not post to social media, his wife
        posted reports from her husband which included “[t]hey broke some furniture [and]
        proceeded to storm the floors.” See United States’ Sent. Memo, ECF No. 27 at 1-2. The
        Court imposed as sentence of one year of supervised probation. See Judgment as to Gary
        Edwards, ECF No. 29.

•       In United States v. Sean Cordon, 21-cr-269 (TNM), the defendant wore body armor and
        carried a gas mask and bear spray into the Capitol. See United States’ Sent. Memo, ECF
        No 31 at 2. He told law enforcement he saw a rioter push a police officer on Capitol
        grounds. Id. at 3. He entered the building by climbing through the broken windows next to
        the Senate Wing Door 12 minutes after rioters initially breached that entry point. Id. at 5.
        The Court imposed a sentence of two months of probation and a $4,000 fine. See Judgment
        as to Sean Cordon, ECF No. 37.

    •    In United States v. Doyle, 1:21-cr-324 (TNM), the defendant entered the Capitol through a
         broken window 10 minutes after the initial breach and yelled at a police officer. See United
                                                     15
            Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 16 of 21




          States’ Sent. Memo, ECF No. 27 at 3. The Court imposed a sentence of two months of
          probation and a $3,000 fine. See Judgment as to Danielle Doyle, ECF No. 34.

  •       In United States v. Ehrke, 1:21-cr-97 (PLF), while the events of January 6 were unfolding,
          the defendant boasted on Facebook that she was “on the way to the breached capitol
          building [sic].” See United States’ Sent. Memo, ECF No. 20 at 2. The Court sentenced her
          to three years of probation. See Judgment as to Valerie Ehrke, ECF No. 26.

  •       In United States v. Rosa, No. 1:21-cr-68 (TNM), the defendant posted a photo on social
          media as he walked to the rally on the Mall with the caption “And we fight!!!” and
          acknowledged he heard bangs and smelled pepper spray prior to entering the Capitol. See
          United States’ Sent. Memo, ECF No. 66. at 4-5. The Court imposed a term of 12 months
          of probation. See Judgment as to Eliel Rosa, ECF No. 79.

          In some of the cases in which in which the defendant pleaded guilty to 40 U.S.C.

§5104(e)(2)(G) and was sentenced either to jail or home confinement, the conduct alleged was

significantly more aggravating than that of Mr. Pearston:


      •    In United States v. Bauer, No. 21-cr-49 (TSC), the defendant took triumphant
           selfies from the Capitol Crypt and while standing on the hood of a government
           vehicle with a middle finger raised; deleted Facebook posts in an attempt to destroy
           evidence; told the FBI, “I don’t feel like I done nothing terribly wrong”; and had an
           extensive criminal record that resulted in a previous prison sentence. See United States’
           Sent. Memo, ECF No. 33 at 4-6, 11-12. The Court imposed 45 days of incarceration
           and required the defendant to complete 60 hours of community service. See
           Judgment as to Robert Bauer, ECF No. 44.

      •    In United States v. Hemenway, 21-cr-49 (TSC), the defendant, who acted in concert with
           Mr. Bauer, entered the Senate Wing Door at 2:19 p.m. See United States’ Sent. Memo,
           ECF No. 32 at 3. (Mr. Edwards entered the same door at 3:01.) Like Mr. Bauer, this
           defendant took celebratory selfies both inside the Capitol and while standing on the

                                                   16
     Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 17 of 21




    hood of a government vehicle. Id. at 4-5. Like Mr. Bauer, this defendant previously
    served a prison sentence. In Mr. Hemenway’s case it was for Sexual Battery and
    Criminal Confinement. Id. at 11. The Court imposed 45 days of incarceration and
    required the defendant to complete 60 hours of community service. See Judgment as
    to Edward Hemenway, ECF No. 46.

•   In United States v. Bissey, 1:21-cr-165 (TSC), the defendant was inside the Capitol for
    about 10 minutes, but celebrated on Twitter, “This is the First time the U.S. Capitol
    had been breached since it was attacked by the British in 1814,” and, regarding
    January 6, “It was a day I’ll remember forever. I’m proud that I was part of it! No
    Shame.” See United States’ Sent. Memo, ECF No. 26 at 3. The Court imposed 14
    days of incarceration and 60 hours of community service. See Judgment as to Dona
    Bissey, ECF No. 32.

•   In United States v. Pham, 1:21-cr-109 (TJK), the defendant, a senior Houston police
    officer, faced off with officers in riot gear across a makeshift barrier; shouted
    “We’re taking the House back!”; entered the office suite of House Leader Kevin
    McCarthy; and denied to FBI agents that he had entered the Capitol Building. See
    United States’ Sent. Memo, ECF No. 36 at 1, 5-6, 9, & 11. The Court imposed 45 days
    of incarceration and a $1,000 fine. See Minute Entry of 12/10/2021.

•   In United States v. Jessica Bustle, 1:21-cr-238 (TFH), the defendant remained inside
    the Capitol for about 20 minutes and engaged in no violence. See United States’ Sent.
    Memo, ECF No. 39 at 2. However, on Facebook before the riot, she posted “[w]e don’t
    win this thing sitting on the sidelines. Excited to stand for truth with my fellow patriots
    and freedom fighters in DC today.” Id. Afterwards, also on Facebook, she called Vice
    President Pence a “traitor,” bragged that she “stormed the Capitol,” called for a
    revolution, and wrote, “I’m proud of [those who entered the Capitol] from [sic]
    standing up!” Id. at 3. The Court imposed 60 days of home confinement and 24 months




                                             17
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 18 of 21




        of probation. 8 See Judgment as Jessica Bustle, ECF No. 42.

    •   In United States v. Mazzocco, 1:21-cr-54 (TSC), the defendant penetrated the
        Capitol as far as the Spouse’s Lounge and the Capitol Crypt, where he took smiling
        selfies. See United States’ Sent. Memo, ECF No. 28 at 4-7. During the events of
        January 6, he posted a photo on Facebook captioned, “The capital is ours!” He also likely
        destroyed evidence since he was seen on surveillance video wearing a digital camera, yet
        when he was arrested 11 days later he claimed not to know where the camera was. Id. at
        8. The defendant also sent a text message to a friend, “The more they discover it was
        antifa the more they’re backin up.” Id. at 10. The Court imposed a sentence of 45
        days of jail time without probation. See Judgment as to Matthew Mazzocco, ECF No.
        34.

    •   In United States v. Fitchett, 1:21-cr-41 (CJN), the defendant recorded a video
        before she entered the Capitol in which she exclaimed, “We are storming the
        Capitol. We have broken in. Patriots arise. Woo!” See United States’ Sent. Memo, ECF
        No. 114 at 2. The defendant pursued officers down the steps to the Capitol Visitor
        Center where the officers ordered the crowd to leave. The defendant did not leave and
        was arrested in the Visitor Center. Id. at 4-6. The Court imposed a sentence of 36
        months including one month of home confinement. 9 See Judgment as to Cindy Fitchett,
        ECF No. 145.

    •   In United States v. Reeder, 21-cr-166 (TFH), the defendant was present for and


8
 Joshua Bustle, Jessica Bustle’s co-defendant and husband, also pleaded guilty to 40 U.S.C.
§ 5104(e)(2)(G). He accompanied his wife into the Capitol but did not post inflammatory social
media messages. The Court imposed 30 days of home confinement and 24 months of probation. See
Judgment as to Joshua Bustle, ECF No. 45 in United States v. Bustle, 1:21-cr-238 (TFH).
9
 Douglas Sweet, who was alongside Ms. Fitchett throughout her foray into the Capitol, told a local
news station on January 7 that he went to D.C. to “talk to the Senate and the House and actually speak,”
and realized he might have to “pretty much force [his] way in.” See United States’ Sent.
Memo, ECF No. 115 in United States v. Fitchett, 1:21-cr-41 (CJN), at 8. He also has a prior
conviction for Contributing to the Delinquency of Minor, id. at 13. The Court sentenced him to 36
months of probation with one month of home detention. See Judgment as to Douglas Sweet, ECF
No. 142 in United States v. Fitchett, 1:21-cr-41 (CJN).
                                                   18
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 19 of 21




       recorded an assault on two Capitol Police officers in the Capitol rotunda. He did not
       intercede to stop the assaults. See United States’ Sent. Memo, ECF No. 26 at 4. He
       posted a video in which he said, “We had to do.. ah.. battle with the police inside.”
       Id. The Court imposed a sentence of three months without probation. See Judgment as
       to Robert Reeder, ECF No. 41.

   •   In United States v. Ericson, 21-cr-506 (TNM), the defendant reached the United
       States House of Representatives Speaker’s Conference Room where he posed for a
       picture with his feet on the Speaker’s desk and helped himself to a beer from her
       refrigerator. He was also present when a crowd of rioters overran a position held by a
       group of police officers, and told the FBI that antifa was responsible for the violence
       and destruction that took place on January 6. See United States’ Sent. Memo, ECF
       No. 37 at 3-4, 6-7. The 12/10/2021 Minute Entry indicates the Court imposed 24
       months of probation. The United States in its Sentencing Memorandum in the instant
       case wrote that Ericson was sentenced to “20 days of weekend incarceration.” See
       United States’ Sent. Memo at 16.

       In review of the above-referenced cases, it becomes clear that a wholly suspended period

of incarceration conditioned upon Mr. Pearston’s successful completion of a period of probation

is appropriate in light of his actions on January 6th and his otherwise law-abiding and productive

59 years.


       f. 18 U.S.C. §3553(a)(7) The Need to Provide Restitution to Victims of the Offense


       Defendant has agreed to pay restitution in the amount of $500 to the Architect of the

Capitol as a condition of his plea and sentence in this case.

                                            Conclusion

       Defendant Donald Pearston respectfully requests This Honorable Court impose a non-

custodial sentence in this case and, if the Court is so inclined, a minimal period of supervised

                                                 19
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 20 of 21




probation. Donald readily accepts responsibility for his actions and was quick to agree to plead

and be found guilty of a federal criminal offense. He is a retiree, has no history of criminal

convictions, is a decorated veteran of the United States Marine Corps, is not associated with any

extremist or conspiracist groups, has never bragged or publicly displayed his involvement in the

January 6th riot and has been fully cooperative with authorities from the moment of his arrest.


       Donald has felt immense shame and anxiety as a result of his actions on January 6th. He

has no pride in his actions and rues the moments he made the fateful decisions to approach and

enter the Capitol. While his family remain loving and supportive, Donald can’t help but feel that

he let them down. Donald accepts full responsibility for his actions and will accept whatever

sentence this Court deems appropriate.


       WHEREFORE Defendant Donald Pearston respectfully requests This Honorable Court

sentence Defendant to restitution in the amount of $500 and a minimal amount of probation if the

Court finds it reasonable and necessary.

                                                      Respectfully submitted,

                                                      DONALD PEARSTON

                                                      By counsel


                                                              /s/ Sebastian M. Norton
                                                      Sebastian M. Norton, DC Bar #1008961
                                                      King, Campbell, Poretz & Mitchell, PLLC
                                                      118 N. Alfred Street
                                                      Alexandria, VA 22314
                                                      (703) 683-7070 Telephone
                                                      (703) 652-6010 Facsimile
                                                      sebastian@kingcampbell.com
                                                      Attorney for Defendant



                                                 20
         Case 1:23-cr-00454-JEB Document 30 Filed 04/21/24 Page 21 of 21




                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of April, 2024, I electronically filed the foregoing
pleading with the Clerk of Court using the CM/ECF system, which will send a notification to
counsel of record.

                                                              /s/ Sebastian M. Norton
                                                              Counsel for Defendant




                                                 21
